                         Case 1:22-sz-00007-ZMF Document 3 Filed 05/16/22 Page 1 of 2

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                 (Briefly describe the property to be seized)
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                                                                                                                  Zia M. Faruqui
'DWHDQGWLPHLVVXHG                                                                                2022.03.31 18:51:36 -04'00'
                                                                                   Judge’s signature


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                                                                                                       Printed name and title
                         Case 1:22-sz-00007-ZMF Document 3 Filed 05/16/22 Page 2 of 2

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                                              3/31/2022 19:30 EDT                                   Providers' official service accounts
,QYHQWRU\PDGHLQWKHSUHVHQFHRI
  Providers' official service accounts
,QYHQWRU\RIWKHSURSHUW\WDNHQ
  On 3/31/2022, warrants were served via email to all nine banks providers' official service accounts.
  The following assets were provided to the USMS:

  Received     US Bank             Original Wire Date Amount                     Received    US Bank            Original Wire Date Amount
  4/28/2022    B of A              5/23/2018          $1,000.70                  5/16/2022   Citibank, N.A.     3/26/2014          $316,950.89
  4/28/2022    B of A              5/19/2021          $1,000.28                  5/16/2022   Citibank, N.A.     8/26/2015          $9,010.00
  4/15/2022    BNP Paribas         7/6/2018           $20,099.86                 5/16/2022   Citibank, N.A.     2/5/2018           $15,044.45
  4/15/2022    BNP Paribas         7/6/2018           $10,046.29                 5/16/2022   Citibank, N.A.     4/11/2018          $16,380.51
  4/15/2022    BNP Paribas         3/15/2018          $9,979.31                  5/9/2022    Deutsche Bank      12/22/2016         $1,758.89
  4/15/2022    BNP Paribas         3/14/2018          $19,958.26                 5/2/2022    Deutsche Bank      12/27/2017         $5,107.37
  4/15/2022    BNP Paribas         10/16/2018         $15,687.16                 4/14/2022   BYNM               3/6/2018           $3,382.07
  4/15/2022    BNP Paribas         10/16/2018         $10,065.32                 4/14/2022   BYNM               1/19/2016          $12,327.08
  4/15/2022    BNP Paribas         1/15/2019          $8,812.93                  4/14/2022   BYNM               1/15/2016          $1,021.95
  4/15/2022    BNP Paribas         1/15/2019          $6,675.59                  4/14/2022   BYNM               12/28/2016         $13,789.77
  4/15/2022    BNP Paribas         4/8/2019           $11,097.60                 4/14/2022   BYNM               1/29/2018          $3,053.42
  4/15/2022    BNP Paribas         7/6/2019           $9,820.27                  4/14/2022   BYNM               1/29/2019          $1,198.60
  4/15/2022    BNP Paribas         10/23/2019         $8,660.05                  4/14/2022   BYNM               7/29/2019          $2,008.27
  4/15/2022    BNP Paribas         1/31/2020          $5,180.59                  4/14/2022   BYNM               11/2/2020          $1,200.01
  4/26/2022    JPMC                5/27/2014          $39,600.00                 4/20/2022   TD Bank            8/8/2014           $1,000.00
  4/26/2022    JPMC                9/25/2019          $5,741.63                  4/12/2022   Wells Fargo        10/21/2019         $1,517.86
  4/14/2022    State Bank of India 3/1/2018           $21,440.32

  Citibank NA advised the 4/13/2017 wire for $21,831.40 was located in London, UK and could not be provided
  without additional approvals from the UK government. JPMC advised the 12/22/2016 wire for $1,274.69 was
  located in London, UK and could not be provided without additional approvals from the UK government.




                                                                        &HUWLILFDWLRQ


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             5/16/2022
'DWH
                                                                                                         Executing officer’s signature

                                                                                             Special Agent Joy Gallante
                                                                                                              Printed name and title
